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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA  "'~I'Dr   .. - b~ r~"2·
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                                    JACKSONVILLE DIVISION

     CAROL YN A. GLEASON,

            Plaintiff,
                                                                   Case No.: 3:08-cv-1172-J-20JRK
     vs.

     ROCHE LADORATORIES, INC.,

            Defendant.
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                                                 ORDER

            Before this Court is Defendant's Motion for Bill of Costs (Doc. 122), Plaintiffs response

     (Doc. 125), and Defendant's reply (Doc. 129).

            In the instant motion, Defendant requests that costs be awarded against Plaintiff in the

     amount of $11,109.95, for transcripts, photocopies, witnesses, court reporter fees, fees from the

     Clerk, and other expenses. Doc. 122-2. Federal Rule of Civil Procedure 54(d)(1) provides

     "costs--other than attorney's fees--shall be allowed to the prevailing party." 28 U.S.C. § 1920

     itemizes the following list of costs that may be taxed:

                    (1) Fees ofthe clerk and marshal;
                    (2) Fees for printed or electronically recorded transcripts
                    necessarily obtained for use in the case;
                    (3) Fees and disbursements for printing and witnesses;
                    (4) Fees for exemplifications and copies of papers necessarily
                    obtained for use in the case;
                    (5) Docket fees under section 1923 of this title;
                    (6) Compensation of court appointed experts, compensation of
                    interpreters, and salaries, fees, expenses, and costs of special
                    interpretation services under section 1828 of this title.
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    "[A]bsent explicit statutory or contractual authorization ... federal courts are bound by the

    limitations set out in 28 U.S.C. § 1821 and § 1920." Crawford Fitting Co. v. J.T. Gibbons, Inc.,

    482 U.S. 437,445 (1987).

            On June 20, 2011, a jury returned a verdict in favor of Defendant on Plaintitl's claim.

    While Plaintiff does not object to all of the fees listed in Defendant's itemized bill of costs, she

    argues that certain costs are not recoverable under the relevant statutes. Doc. 125 at 1. Plaintiffs

    objections will be addressed in turn.

    I. Court Reporter Appearance Fees

            Plaintiff argues that § 1920 and Rule 54 "do not discuss appearance fees for court

    reporters at depositions," and therefore, Defendant's itemized "per diem" fee of$355.00 should

    not be permitted. Doc. 125 at 1-2. While some courts have declined to tax court reporter

    appearance fees since such fees are not specifically mentioned by the statute, see, e.g., Dubon v.

    Delmas Meat and Fish, No. 09-20298-CIV, 2010 WL 917402, at *3 (S.D. Fla. Mar. 11,2010),

    others have determined that attendance fees of the court reporter or per diem costs in connection

    with depositions may be taxed when necessarily obtained for use in the case. See, e.g., Powell v.

    The Home Depot, USA., Inc., No. 07-80435-CIV, 2010 WL 4116488, at *9 (S.D. Fla. Sept. 14,

    2010); Ferguson v. Bombardier Servs. Corp., Nos. 8:03-cv-539-T-31 DAB, 2007 WL 601921, at

    *4 (M.D. Fla. Feb. 21,2007). This Court finds the reasoning in the latter line of cases, that

    attendance fees of the court reporter or per diem are part of the transcript fee, persuasive.

    Therefore, pursuant to § 1920(2), the per diem fee will be taxed to Plaintiff.

    II. Expert Witness Deposition Fees

           Plaintiff objects to recovery of $705.20, representing the costs for transcripts and an


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    expedited fee for the deposition of expert witness, Kenneth Reagles. She contends that

    Defendant was directed to pay these costs in the January 19,2011 Order (Doc. 59), which stated,

    "Plaintiff shall be pennitted to depose the witness provided by Defendant, with reasonable

    associated costs to be borne by Defendant's counsel." Doc. 59 at 3. This Court agrees.

    Defendant will not be pennitted to recover these fees.

    III. Copies of Depositions

           According to Plaintiff, Defendant may not recover the cost of a deposition transcript copy

    or the cost of a word index and condensed transcript.

           As to the transcript copy, Defendant claims that the cost is due to the fact that the first

    party who orders a transcript is charged $5.00 per page, whereas the second is only $2.50. Doc.

    129 at 3. This, however, does not explain why the referenced receipt indicates, "Transcript

    original and copy was at a cost of$5.00 per page at 308 pages = $1,540.00[.]" Doc. 129-1

    (emphasis added). Defendant is only entitled to recover the costs of one copy of the transcript.

    See, .e.g., Martinez-Pinillos v. Air Flow Fillers. Inc., No. 09-22453-CV-MARTINEZ, 2010 WL

    6121708, at *5-6 (S.D. Fla. Dec. 22, 2010). Accordingly, Plaintiff will only be taxed for

    $770.00, the cost of a single copy.

           In regard to the word index and condensed transcript, Defendant has neglected to address

    Plaintiffs objections. Moreover, as these costs appear to be merely tor the convenience of

    counsel, the associated fees of $51.20 and $52.00 are not recoverable.

    IV. Unsupported Deposition Copies

           Plaintiff contests the deposition transcript costs of several witnesses because Defendant

    did not attach the respective invoices to its motion. While Defendant has remedied the error by


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    attaching the invoices to the its Reply, see Doc. 129-2. a review of the documents reveals that the

    itemized costs include two $30.00 charges for condensed transcripts. Defendant is not permitted

    to recover these fees for the same reasons identified in section III.

    V. Witness Fees

            Plaintiff does not object to most of the witness fees contained in the bill of costs,

    however, she states that "it does not appear" Defendant reduced the fees by the amount paid by

    Plaintiff. Doc. 125 at 3. In its reply, Defendant provides calculations for the contested witness

    fees, including a subtraction of those paid by Plaintiff. See Doc. 129 at 3. Accordingly, the full

    $1,105.69 in fees for witnesses will be taxed to Plaintiff, pursuant to § 1920(3).

    VI. Mediation Costs

            Lastly, Plaintiff objects to the reimbursement of mediation fees. Though Defendant

    argues it should be entitled to mediation costs because mediation was required by the Court, it

    fails to provide any support for this distinction. Cf Van Voorhis v. Hillsborough Bd. ofCnty.

    Comm'rs, No. 8:06-cv-1171-T-TBM, 2008 WL 2790244, at *4 (M.D. Fla. July 18,2008)

    ("Despite the fact that mediation is often court ordered, § 1920 does not contemplate the costs of

    mediation."). Defendant will, therefore, not be reimbursed $1,493.00 for mediation expenses.

            Accordingly, it is ORDERED and ADJUDGED:

            1. Defendant's Motion for Bill of Costs (Doc. 122) is GRANTED in part and DENIED

    in part;

           2. Pursuant to Fed. R. Civ. P. 54(d)(l) and Fla. Stat. § 57.041, the Defendant is the

    prevailing party and is entitled to tax costs against the Plaintiff;

           3. The Clerk of the Court is directed to tax costs against the Plaintiff;


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       4. The Defendant is awarded costs in the total amount of$7,978.55, calculated as

follows: $350.00 for fees of the Clerk; $3,807. J9 for printed or electronically recorded transcripts

necessarily obtained for use in the case; $ J ,105.69 for witness fees; and $2,715.67 for fees

associated with exemplifications and copies of papers necessarily obtained for use in the case;

and

       5. The Clerk of the Court is directed to CLOSE this case.




DONE AND ENTERED at Jacksonville, Florida. this - - - - , f C - - -

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Copies to:
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